                                                                      Judge Mary Jo Heston
 1                                                                    Chapter 13
 2                                                                    Location: Tacoma
                                                                      Hearing Date: February 3, 2020
 3                                                                    Hearing Time: 1:00 p.m.
                                                                      Response Due: January 27, 2020
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 6
                           UNITED STATES BANKRUPTCY COURT
 7                     WESTERN DISTRICT OF WASHINGTON AT TACOMA

 8      IN RE:
                                                               BK Case No. 19-42890-MJH
 9      SARAH HOOVER,
                                                               Chapter: 13
10                Debtor.
11                                                             DECLARATION OF CHRISTINA L
                                                               HENRY IN SUPPORT OF
12
                                                               RESPONSE TO MOTION TO
13                                                             ANNUL THE AUTOMATIC STAY

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            I, Christina L Henry, hereby declare as follows:
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            1.     I am an attorney for the Plaintiff in the above-referenced adversary proceeding
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     and I have personal knowledge concerning all information in this declaration.
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            2.     Attached hereto as Exhibit 1 is the letter I sent regarding Ms. Hoover’s stay
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     violation on November 22, 2019.
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            3.     Attached hereto as Exhibit 2 is the letter I sent regarding Ms. Hoover’s stay
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     violation on December 12, 2019.
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            4.     Attached hereto as Exhibit 3 is the letter I sent regarding Ms. Hoover’s stay
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     violation on December 20, 2019.
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            5.     Attached hereto as Exhibit 4 are true and correct copies of emails exchanged with
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     Robert McDonald of Quality Loan Services with notice to McCarthy Holthus, and IH6
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            6.     Attached hereto as Exhibit 5 is the letter I sent regarding Ms. Hoover’s stay
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     violation on January 8, 2020.
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     DECLARATION OF CHRISTINA L HENRY                                         HENRY & DEGRAAFF, P.S.
     IN SUPPORT OF RESPONSE TO MOTION                                            787 MAYNARD AVE S.
     TO ANNUL THE AUTOMATIC STAY - 1                                         SEATTLE, WASHINGTON 98104
                                                                               telephone (206) 330-0595
                                                                                   fax (206) 400-7609
      Case 19-42890-MJH         Doc 26     Filed 01/27/20      Ent. 01/27/20 22:54:28         Pg. 1 of 2
 1         I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE

 2   OF WASHINGTON AND THE UNITED STATES THAT THE ABOVE IS TRUE AND

 3   CORRECT.

 4         Executed at Bothell, WA this January 27th, 2020

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                                                      _/s/ Christina L Henry________
 6                                                    Christina L Henry, WSBA# 31273
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     DECLARATION OF CHRISTINA L HENRY                                   HENRY & DEGRAAFF, P.S.
     IN SUPPORT OF RESPONSE TO MOTION                                      787 MAYNARD AVE S.
     TO ANNUL THE AUTOMATIC STAY - 2                                   SEATTLE, WASHINGTON 98104
                                                                         telephone (206) 330-0595
                                                                             fax (206) 400-7609
      Case 19-42890-MJH       Doc 26    Filed 01/27/20       Ent. 01/27/20 22:54:28     Pg. 2 of 2
